Case 2:02-Cr-20005-BBD Document 88 Filed 07/28/05 Page 1 of 7 PagelD 78
UN|TED STATES D|STR|CT COURT

WESTERN D|STR|CT OF TENNESSEE 'FlI.ED BW¢_ D.C.

MEMPH|S DlVlSION

05 JUL 28 AHI|= lili

UN|TED STATES OF AMERICA
THOWS M. GOLLD
-v- 2:02cR20005-01-D CLEP.K, U_.S. _Fl§i?lci COLRT
W/‘ii tic li-i, ~‘r;i:.l¢l?l'll$
ADAM NEIL GOLD

Kathg{n M. Swrisherl Retained
Defense Attorney

4646 Pop|ar Ave., Ste. 102
Memphis, TN 381117

 

**SECOND AMENDED JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1, 2, and 7 of the lndictment, as well as the forfeiture
Count 8 on March 26, 2002. According|y, the court has adjudicated that the defendant is
guilty of the following offense(s):

Date Count
Title & section M§ Offense M§i
Concluded
18 U.S.C. § 2252(a)(4)(B) Possession of Chi|d Pornography 02/07/2001 1
18 U.S.C. § 2252(a)(2) Receipt of Chi|d Pornography 07.»'02)'1998 2
18 U.S.C. § 2252(a)(1) Transportation of Chi|d Pornography 01/24)'2001 7
18 U.S.C. § 2253 Crimina| Forfeiture 01/24/2001 8

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 3,4,5, and 6 are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all hnes, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No.: XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 02/13/1965 Ju|y 8, 2005
Deft’s U.S. |Vlarsha| No.: 18129-076

Defendant’s Mai|ing Address:
5395 Autumn Brook Drive
Memphis, TN 38141

This document entered on the docket Sheet in compliance
With Hu|e 85 anal/or 32(b) FHCrP on ’/'@L§

ff

Case 2:02-Cr-20005-BBD Document 88 Filed 07/28/05 Page 2 of 7 PagelD 79
Case No: 2:O2CR20005-01 Defendant Narne: Adam Neil GOLD Page 2 of 6

  
  

   

BE lCE B. DONALD
NlTED STATES D|STR|CT JUDGE

Juiyégf , 2005

Case 2:02-Cr-20005-BBD Document 88 Filed 07/28/05 Page 3 of 7 PagelD 80

Case No: 2:02€R20005-01 Defendant Name: Adam Neil GOLD Page 3 of 6
|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 30 Months. *(Defendant is to receive credit for

time served.)

Tota| term of thirty (30) months imposed under Counts 1, 2, 7 and 8 of the |ndictment
to run concurrently with each other.

The Court recommends to the Bureau of Prisons: Defendant be allowed to
participate in the Sex Offender Treatment Program at FC| Butner, North Carolina.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 2:02-Cr-20005-BBD Document 88 Filed 07/28/05 Page 4 of 7 PageiD 81

Case No: 2:020R20005-01 Defendant Name: Adam Neii GOLD Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment1 the defendant shall be on supervised release
for a term of **5 years (Term of supervised release began on 3116I2005).

**Totai term of five (5) years imposed under Counts 1, 2, 7 and 8 of the indictment
to run concurrently with each other.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised reiease, the defendant shall not commit another federa|,
state or local crime and shall not possess a firearm, ammunition, or destructive device
as defined in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND}T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation
ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and
shall submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
of the probation ofticer;

4. The defendant shall support his or her dependants and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation unless excused by the probation ocher for
schooling, training, or other acceptable reasons;

6. The defendant shall notify the probation officer ten(‘ltl) days prior to any change in residence or
employment

7. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
as directed by the probation officer to determine the use of any controlled substance;

8. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

Case 2:02-cr-20005-BBD Document 88 Filed 07/28/05 Page 5 of 7 PageiD 82

Case No: 2:020R20005-01 Defendant Name: Adam Neil GOLD Page 5 of 6

9. The defendant shall not associate with any persons engaged in criminal activity, and shall not
associate with any person convicted of a felony unless granted permission to do so by the probation
ocher;

10. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere

and shall permit confiscation of any contraband observed in plain view by the probation officer;

11. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer; ,.

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notihcations and to confirm the defendant's compliance with such
notification requirement

14. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine or restitution in accordance with the Scheduie of
Payments set forth in the Criminai Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:
15. The defendant's employment and change of address must be approved by the probation officer;

16. The defendant shall participate as directed in a program of mental health treatment including a
sexual offender treatment program, approved by the probation officer. You shall abide by the
ruies, requirements, and conditions of the treatment program, including submitting to polygraph
testing, at your own expense, to aid in the treatment and supervision process. The results of the
polygraph examination may not be used as evidence in Court to prove that a violation of
community supervision has occurred but may be considered in a hearing to modify release
conditions Further. the defendant shall be required to contribute to the cost of services for such
treatment in an amount determined reasonable by the probation officer based upon ability to pay
or availability of third party payment and in conformance with the Probation Office’s Siiding
Sca|e for Menta| Health Treatment Services.

17. The defendant shall refrain from purchasing, possessing, or using any sexually stimulating or
sexually oriented books, magazines, films, videos, computer programs, or an other media for
portrayal of the same.

18. The defendant shall refrain from using any sexually oriented telephone numbers or services.

19. The defendant shall have no unsupervised contact with children or adolescents or be involved in
any social activities that give him control over children or adolescents.

20. The defendant shall not possess, or use, a computer with access to any “on-|ine computer
service” at any location (including employment) without the prior approval of the probation
officer. This includes any internet Service providerl bulletin board system, or any other public or
private network or e-maii system.

Case 2:02-cr-20005-BBD Document 88 Filed 07/28/05 Page 6 of 7 PageiD 83

Case No: 2:020R20005-01 Defendant Name: Adam Neil GOLD Page 6 of 6
21. The defendant must abide by an evening curfew as set by the probation officer.
22. The defendant's place of residence may not be close in proximity to parks, playgrounds, public

poolsl or other locations frequented by children.

23. The defendant shall cooperate in the collection of DNA as directed by the probation officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in
accordance with the schedule of payments set forth in the Schedule of Payments. The
defendant shall pay interest on any fine or restitution of more than $2,500, unless the
fine or restitution is paid in fuii before the fifteenth day after the date of judgment
pursuant to 18 U.S.C. § 3612(f). Al| of the payment options in the Schedule of Payments
may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Totai Fine Total Restitution
$300.00 (PAID)**

The Specia| Assessment shall be due immediately.
F|NE
*No fine imposed.
REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:02-CR-20005 Was distributed by faX, mail, or direct printing on
August 1, 2005 to the parties listed.

 

 

Kathryn M. SWiSher

LAW OFFICE OF KATHRYN SWISHER
4198 Summer Ave.

Ste. 102

Memphis7 TN 38122

Dan NeWSom

U.S. ATTORNEY'S OFFICE
167 N. Main St

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

